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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA,

v.
                                            CRIMINAL ACTION
TONY ARCHIE,
                                            NO. 1:15-CR-00338-1-MHC-CMS
      Defendant.


                   REPORT AND RECOMMENDATION OF
                   UNITED STATES MAGISTRATE JUDGE

      On September 8, 2015, a Grand Jury sitting in the Northern District of

Georgia returned a 35-count indictment against six individuals for alleged illegal

activities designed to defraud cellular device providers. [Doc. 1]. Defendant Tony

Archie (“Defendant”) is charged in fifteen of the counts with the following:

conspiracy to commit wire fraud (Count 1); seven counts of wire fraud (Counts 2-

8); two counts of mail fraud (Counts 16-17); and five counts of money laundering

(Counts 18-21, 32). [Id.]. The indictment also contains forfeiture provisions that

apply to Defendant. [Id. at 15].

      This matter is before the Court on Defendant’s Motion to Suppress [Doc. 73]

in which he claims that a search warrant for certain email accounts did not satisfy

the particularity requirement of the Fourth Amendment.
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                              I.     BACKGROUND

      On November 28, 2012, the Superior Court of DeKalb County issued a

search warrant authorizing the search for digitally-stored emails and files in the

following fifteen email accounts held by Microsoft Corporation, 1 Microsoft Way,

Redmond, Washington 98052-732:

      acewholesale1@hotmail.com             acewholesale44@hotmail.com
      acewholesale75@hotmail.com            acewholesale22@hotmail.com
      acewholesale04@hotmail.com            acewholesale11@hotmail.com
      acewholesale50@hotmail.com            acewholesale77@hotmail.com
      acewholesaletony@hotmail.com          tonyarchie@hotmail.com
      acewholesale17@hotmail.com            acewholesale88@hotmail.com
      acewholesale3@hotmail.com             acechicago@hotmail.com
      acewholesale32@hotmail.com

[Doc. 82-1 at 1, hereinafter, collectively referred to as “Hotmail accounts”]. The

search warrant described the information to be seized as: “subscriber information,

registration information, IP (internet protocol) history, content of communication,

including sent and received messages, device MAC (media access control) address,

address books, log-in records, and photos and videos” that constituted evidence of

violations of O.C.G.A. § 16-8-5.2 (retail property fencing) and O.C.G.A. § 16-14-

4(a) (RICO). [Id.].

      On January 29, 2016, Defendant filed a two-paragraph motion to suppress

the Government’s “use of any Hotmail accounts under his direction, control, use or

access” because “the search warrant does not satisfy the particularity requirement
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of the Fourth Amendment.” [Doc. 73 at 1]. According to Defendant, the search

warrant “permitted a general exploratory seizure of any and all information,” and

therefore “all evidence obtained from the search warrant and the fruits thereof must

be suppressed.” [Id. at 1-2].

      The Government responds that Defendant’s motion should be denied for two

reasons.    First, the Government argues that Defendant has not shown that

Defendant had a reasonable expectation of privacy in any of the accounts. Second,

the Government argues that the warrant was sufficiently particularized in terms of

the information to be searched and seized.

      Defendant did not file a reply brief and did not specifically request an

evidentiary hearing.

                                II.    DISCUSSION

           A. Standing

      The Government first argues that Defendant’s motion should be denied

because Defendant has not alleged or made a showing that he had any ownership

interest in the Hotmail accounts or otherwise had a legitimate expectation of

privacy in the accounts. [Doc. 82 at 3-7]. The Court agrees.

      The Fourth Amendment guarantees that:

      [t]he right of the people to be secure in their persons, houses, papers,
      and effects, against unreasonable searches and seizures, shall not be
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      violated, and no Warrants shall issue, but upon probable cause,
      supported by Oath or affirmation, and particularly describing the place
      to be searched, and the persons or things to be seized.

U.S. CONST. amend. IV. Fourth Amendment rights, however, are personal.

Minnesota v. Carter, 525 U.S. 83, 88, 119 S. Ct. 469, 472 (1998); Katz v. United

States, 389 U.S. 347, 351, 88 S. Ct. 507, 511 (1967) (“[T]he Fourth Amendment

protects people, not places”). The “capacity to claim the protection of the Fourth

Amendment depends ... upon whether the person who claims the protection of the

Amendment has a legitimate expectation of privacy in the invaded place.” Carter,

525 U.S. at 88, 119 S. Ct. at 473 (quoting Rakas v. Illinois, 439 U.S. 128, 143, 99

S. Ct. 421, 430 (1978)). Absent a legitimate expectation of privacy in the place

searched, a court may find that the defendant lacks standing to challenge the

search. United States v. DeLuca, 269 F.3d 1128, 1132 (10th Cir. 2001).

      Here, Defendant’s motion does not identify any relationship between

Defendant and the Hotmail accounts. Although Defendant seeks to suppress “any

Hotmail accounts under his direction, control, use or access” [Doc. 73 at 1],

Defendant does not allege that any of the Hotmail accounts meet that criteria. The

motion is simply a boilerplate motion with no analysis or discussion of any

relevant facts. In failing to point to any evidence showing who had access to the

accounts, the purpose of the accounts, or any other such facts that might shed light

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on the issue, Defendant has failed to demonstrate that he had a legitimate

expectation of privacy in any of the Hotmail accounts.1 Accordingly, I conclude

that Defendant has failed to carry his burden of alleging facts that would establish

his standing to challenge the search, and I therefore recommend that the motion be

denied on this basis.

           B. Particularity

      The Fourth Amendment requires that a warrant particularly describe both (1)

the place to be searched and (2) the persons or things to be seized. U.S. CONST.

amend. IV; United States v. Bemka Corp., 368 F. App’x 941, 943 (11th Cir. 2010)

(per curiam). It is unclear which aspect of particularity Defendant contends is

lacking.

      With respect to the place to be searched, a warrant is sufficiently particular

where it describes “the place to be searched with sufficient particularity to direct

the searcher, to confine his examination to the place described, and to advise those

being searched of his authority.” United States v. Burke, 784 F.2d 1090, 1092

(11th Cir. 1986). The warrant in this case clearly and specifically identified the

property to be searched as the “digitally stored emails and files held by Microsoft


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      I note that Defendant has not filed a reply brief challenging or disputing the
Government’s argument that he lacks standing to challenge the search.

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Corporation” contained in the fifteen specified email accounts. [Doc. 82-1 at 1]. It

is difficult to imagine how the warrant could have been more specific or more

particularized as to the place to be searched.

      With respect to the things to be seized, the Eleventh Circuit instructs that:

      It is universally recognized that the particularity requirement must be
      applied with a practical margin of flexibility, depending on the type of
      property to be seized, and that a description of property will be
      acceptable if it is as specific as the circumstances and nature of
      activity under investigation permit.

United States v. Wuagneux, 683 F.2d 1343, 1349 (11th Cir. 1982). The search

warrant at issue in this case described the property or things to be seized as

follows:

      subscriber information, registration information, IP (internet protocol)
      history, content of communication, including sent and received
      messages, device MAC (media access control) address, address
      books, log-in records, and photos and videos for the [fifteen specified
      email accounts] . . . which are in violation of: O.C.G.A. § 16-8-5.2,
      Retail Property Fencing, and O.C.G.A. § 16-14-4(a), Racketeering
      Influenced and Corrupt Organizations Act (RICO).

[Doc. 82-1 at 1]. Contrary to Defendant’s contention that the warrant “permitted a

general exploratory seizure of any and all information,” [Doc. 73 at 1-2], the

description of the items to be seized is sufficiently detailed and particular. By

explicitly limiting the scope of what may be searched and seized to evidence of the

crimes under investigation, the warrant was sufficiently particular to enable the

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searcher to reasonably ascertain and identify the property authorized to be seized.

See United States v. Lee, No. 1:14-cr-227-TCB-2, 2015 WL 5667102, at *3 (N.D.

Ga. Sept. 25, 2015) (“a warrant that requires disclosure of the entire contents of an

email account and then describes a subset of that information that will be subject to

seizure is reasonable”); United States v. Harvey, No. 1:15-cr-53-TWT-RGV, 2015

WL 9685908, at *13 (N.D. Ga. Nov. 30, 2015), adopted by 2016 WL 109984, at

*1 (N.D. Ga. Jan. 8, 2016) (concluding that a search warrant for a cell phone was

sufficiently particularized where the property to be seized was limited to evidence

of the crimes being investigated); United States v. Ortiz-Aleman, No. 1:11-cr-20-

ODE-JFK, 2011 WL 3739528, at *4 (N.D. Ga. July 21, 2011), adopted by 2011

WL 3739425, at *1 (N.D. Ga. Aug. 24, 2011) (holding that the following

description of things to be seized from a cell phone was adequately particularized

to survive Fourth Amendment scrutiny: “address and phone/contact listings, text

messages sent and/or received, calendars, photographs, and to-do lists, which

constitutes evidence of the commission of a criminal offense and property which

has been used as the means of committing a criminal offense, concerning

violations of Title 21 USC §§ 841(a) and 846”).

      The universe of property that could be seized pursuant to the warrant at issue

in this case was limited to evidence of illegal activities concerning the state law

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crimes of retail property fencing (O.C.G.A. § 16-8-5.2) and RICO (O.C.G.A. § 16-

14-4(a)). The warrant, therefore, did not permit a “general exploratory seizure” of

the information in the Hotmail accounts. See Lee, 2015 WL 5667102, at *10

(“Indeed, the two-step procedure employed by the government to review the email

accounts in this case—first obtaining the disclosure from Google and subsequently

reviewing the disclosure for the items specified in the warrants—is explicitly

authorized by Rule 41 of the Federal Rules of Criminal Procedure, and federal

courts around the country have consistently upheld similar email search warrants

utilizing this same procedure as constitutional under the Fourth Amendment.”);

United States v. Brooks, No. 3:13-cr-58-J-34JRK, 2014 WL 292194, at *11 (M.D.

Fla. Jan. 27, 2014), adopted at *2 (concluding that because the scope of the warrant

was restricted to evidence of child pornography-related crimes, it did not permit a

free-ranging search); see also Signature Pharmacy, Inc. v. Wright, 438 F. App’x

741, 745-46 (11th Cir. 2011) (per curiam) (unpublished) (holding that the items to

be seized were described with sufficient particularity where the items were limited

by the specific crimes under investigation and stating “[b]ecause the descriptions in

the warrants refer to items that are evidence of a violation of certain statutes

relating to the sale of controlled substances, the items were described with



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sufficient particularity to allow Wright, a seasoned law enforcement officer, to

identify the things to be seized”).

      For the reasons stated, I conclude that the warrant satisfied the Fourth

Amendment’s particularity requirement, and Defendant’s motion to suppress

should be denied on this basis as well.

                                 III.   CONCLUSION

   For the reasons stated above, I RECOMMEND that Defendant’s Motion to

Suppress [Doc. 73] be DENIED.

      I have now addressed all referred pretrial matters and have not been advised

of any impediments to the scheduling of a trial. Accordingly, the Defendant is

CERTIFIED READY FOR TRIAL.

      IT IS SO ORDERED, this 18th day of April, 2016.




                                          CATHERINE M. SALINAS
                                          United States Magistrate Judge




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